                                            Case 3:24-cv-03312-LB Document 9 Filed 07/01/24 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    GEORGE BERNARD CLEMENTS, et al.,                 Case No. 24-cv-03312-LB
                                                      Plaintiffs,
                                   8
                                                                                         REFERRAL FOR PURPOSE OF
                                                v.                                       DETERMINING RELATIONSHIP
                                   9

                                  10    MILOUS JAMES IVORY,
                                                      Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED, to the

                                  14   Honorable Araceli Martinez-Olguin for consideration of whether the case is related to 3:23-cv-

                                  15   05202-AMO Clements v. Ivory et al.

                                  16          IT IS SO ORDERED.

                                  17   Dated: July 1, 2024

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                                                                                      LAUREL BEELER
                                  19                                                  United States Magistrate Judge
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